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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 IN RE:                                       §     CHAPTER 11
                                              §
 MONTCO OFFSHORE, INC., et al.,               §     CASE NO. 17-31646
                                              §
              DEBTORS.                        §     (Jointly Administered)

                            AQUEOS CORPORATION’S JOINDER
                    TO OBJECTION TO EXTENSION OF EXCLUSIVITY
                                   [Doc. No. 605]

 TO THE HONORABLE BANKRUPTCY JUDGE MARVIN ISGUR:

          Aqueos Corporation (hereinafter “Aqueos”) hereby files this Joinder (“Joinder”) to the

 objection(s) to Montco Offshore, Inc.’s et al. (the “Debtors”) Emergency Motion for Entry of

 an Order Extending Exclusivity Periods Pursuant to Bankruptcy Code Section 1121 (“Motion”)

 [Doc. No. 605]. In support of this Joinder, Aqueos respectfully shows as follows:

         1.      On December 3, 2017, the Official Committee of Unsecured Creditors filed an

Objection to the Exclusivity Motion. See Doc. No. 668 (collectively, the “Objection”).

         2.      Aqueos adopts and incorporates by reference the objections contained within the

Objection as if each were set out in full herein.

         3.      Moreover, Aqueos fully reserves its rights, claims and defenses, including the right

to amend, modify or supplement this pleading, to take discovery related to the proposed sale

process, to raise objections and introduce evidence at any hearing surrounding any transaction

involving the vessels. Moreover, Aqueos reserves all of its rights as a creditor in these bankruptcy

cases.




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       DATED: December 4, 2017             Respectfully submitted,


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                                           By: /s/ Brian A. Kilmer
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                                           COUNSEL FOR AQUEOS CORPORATION




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing Objection
was served via the Court’s ECF system on those parties consenting to service through same on
December 4, 2017.

                                                   /s/ Brian A. Kilmer
                                                   Brian A. Kilmer




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